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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 STATE OF NEW YORK,

                               Plaintiff,              MEMORANDUM & ORDER
                                                       12-CV-6276(JS)(SIL)
             -against–

 MOUNTAIN TOBACCO COMPANY, d/b/a
 KING MOUNTAIN TOBACCO COMPANY, INC.,
 and DELBERT WHEELER, SR.,

                          Defendants.
 ---------------------------------------X
 APPEARANCES:
 Plaintiff:          Christopher K. Leung, Esq.
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 SEYBERT, District Judge:

                              Presently pending before the Court is defendant Delbert

 Wheeler, Sr. (“Wheeler”)’s motion to dismiss pursuant to Federal

 Rules of Civil Procedure 12(b)(2) and (b)(6).                                             (Docket Entry 169.)

 For following reasons, Wheeler’s motion is GRANTED.

                                                                       BACKGROUND

 I.            The Amended Complaint1

                              The State’s Amended Complaint dated May 21, 20142 asserts

 claims                 pursuant                     to         the   Contraband    Cigarette    Trafficking   Act

 (“CCTA”), the Prevent All Cigarette Trafficking Act (“PACT Act”),

 New York Executive Law § 156-c, and New York Tax Law §§ 471, 1814,

 and           480-b                against                     defendant   Mountain   Tobacco    Company   doing

 business as King Mountain Tobacco Company, Inc. (“King Mountain”)

 and Wheeler (collectively, “Defendants”).                                                (Am. Compl., Docket

 Entry 96.)                             The State seeks to enjoin Defendants from making

 allegedly illegal cigarette sales and shipments in and into New

 York and also requests civil penalties, attorney fees, and costs.

 (Am. Compl. ¶ 3.)




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 1 The following facts are taken from the Amended Complaint and
 are presumed to be true for the purposes of this Memorandum and
 Order.

 2 The State initially filed an unsigned Amended Complaint on
 February 13, 2013. (Docket Entry 6.) The Amended Complaint was
 subsequently signed and refiled on May 21, 2014. (Docket Entry
 96.)
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                              The           Amended              Complaint   alleges   that   Wheeler   is    the

 President, co-founder, and fifty percent owner of King Mountain,

 a corporation formed pursuant to the laws of the Yakama Nation,

 that “advertises and offers its cigarettes for sale, transfer,

 transport, and shipment throughout the United States, including

 New York.”                        (Am. Compl. ¶¶ 8, 10.)                    King Mountain is located within

 the Yakama Indian Reservation; however, the Yakama Nation does not

 own or operate King Mountain.                                          (Am. Compl. ¶ 8.)

                              King Mountain brand cigarettes are manufactured on the

 Yakama Reservation in Washington State and then sold, transferred,

 or assigned to New York State retailers and/or wholesalers.                                                 (Am.

 Compl. ¶ 55.)                                     Plaintiff New York (“the State”) alleges that

 Defendants have, “upon information and belief, knowingly shipped,

 transported, transferred, sold and distributed large quantities of

 unstamped and unreported cigarettes to on-reservation wholesalers

 in New York State.”                                            (Am. Compl. ¶ 56.)3     Although substantial

 quantities of King Mountain cigarettes have been offered for sale


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 3 The Amended Complaint alleges that New York State, with certain
 exceptions, requires that “all cigarettes possessed for sale in
 New York must be stamped.” (Am. Compl. ¶ 26.) The State
 further avers that under New York State’s amended tax law,
 cigarettes that are transported to qualified reservations for
 sale must contain a cigarette tax stamp on the package. (Am.
 Compl. ¶ 37.) “As a result, cigarettes shipped, delivered, or
 otherwise transferred to reservations in New York State by
 manufacturers, distributors, wholesalers, or stamping agents,
 must be stamped, regardless of whether they are to be sold to an
 Indian nation or tribe or its members or reservation cigarette
 sellers.” (Am. Compl. ¶ 38.)
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 at New York State on-reservation retailers, no New York state-

 licensed    stamping    agent   has    reported       sales   of     King   Mountain

 cigarettes in New York to the New York State Department of Taxation

 and Finance.      (Am. Compl. ¶¶ 31, 57-58.)

              On November 6, 2012, investigators from the New York

 State Office of the Attorney General purchased a carton of King

 Mountain cigarettes for $25.00 at the Rising Native Sisters smoke

 shop located on the Poospatuck Reservation in Mastic, New York.

 (Am. Compl. ¶¶ 61-62, 64.)         The New York State excise tax is $43.50

 per carton. (Am. Compl. ¶ 66.) Additionally, the carton purchased

 by the investigator did not bear a New York State cigarette tax

 stamp.    (Am. Compl. ¶ 65.)

              On December 3, 2012, New York State police stopped a

 truck at a commercial checkpoint in Clinton County, New York. (Am.

 Compl. ¶ 67.)      Upon inspection, the State Police discovered 8,400

 cartons (84,000 packs) of unstamped King Mountain cigarettes. (Am.

 Compl. ¶ 67.)       According to the State Police, “the truck was en

 route to land occupied by the Ganienkeh Group in Clinton County,

 New York.”       (Am. Compl. ¶ 67.)

 II.   Wheeler’s First Motion to Dismiss

            On May 16, 2014, Wheeler moved to dismiss the Amended

 Complaint pursuant to Federal Rule of Civil Procedure 12(b)(5),

 (b)(2),    and    (b)(6).    See    New       York   v.   Mountain    Tobacco   Co.,

 55 F. Supp. 3d 301, 306 (E.D.N.Y. 2014) (“Mountain Tobacco I”)

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 (Spatt, J.).      Wheeler’s motion seeking dismissal based on the

 State’s alleged failure to properly effect service was denied.

 Id. at 310.

            Judge Spatt held that the State’s federal claims do not

 provide for nationwide service of process and, accordingly, New

 York’s long-arm statute controls.            Id.   The Court noted that the

 Amended    Complaint    does    not   assert       that    Wheeler   personally

 transacted business or committed a tortious act in New York;

 instead, the State relied on an agency theory “to argue that

 Wheeler used King Mountain as his agent and, therefore, King

 Mountain’s contacts can be imputed to Wheeler.” Id. at 312. Judge

 Spatt held that the State’s agency theory failed on two grounds:

 (1) the State did not sufficiently establish that King Mountain

 engaged in purposeful activities in New York State for Wheeler’s

 benefit, and (2) the State did not demonstrate that King Mountain

 directed    Wheeler    to   perform    any     acts   in    New   York.     Id.

 Specifically, “[b]y grouping [his] activities with the alleged

 conduct of [King Mountain], [the State] provide[s] no basis for

 the Court to determine whether [Wheeler] was a primary actor

 orchestrating the allegedly tortious conduct, or [whether he was]

 named in the complaint simply because [his] name appeare[d] at the

 top of [King Mountain’s] masthead.”          Id. (internal quotation marks

 and citation omitted; alterations in original).



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                            Additionally, Judge Spatt noted that the State submitted

 a declaration that contained statements relating to the assertion

 of personal jurisdiction over Wheeler.                                Id. at 313.    The assistant

 attorney general who submitted the declaration “attested to facts

 to which he does not have personal knowledge” and conceded that

 his allegations regarding “the actions of non-State actors [are]

 based on information and belief.”                                  Id. (internal quotation marks

 omitted; alteration in original).                                  Thus, the State’s declaration

 was disregarded to the extent that it asserted facts that were not

 based on the assistant attorney general’s personal knowledge.                                 Id.

                            Nevertheless, Judge Spatt granted the State’s request for

 jurisdictional discovery “so that the State may develop a record

 relevant to the extent of Wheeler’s contacts with New York State.”

 Id. at 314.                            Wheeler’s motion seeking dismissal pursuant to Rule

 12(b)(6) was also denied without prejudice and with leave to renew

 after the completion of jurisdictional discovery.                                   Id. at 314-15.

 III.             Wheeler’s Motion

                              On August 14, 2015, Wheeler filed the instant motion to

 dismiss pursuant to Rule 12(b)(2) and (b)(6) alleging the absence

 of personal jurisdiction and the State’s failure to state a claim

 upon which relief can be granted.4                                   (Def.’s Mot., Docket Entry



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 4 The Court notes that on November 12, 2014, prior to filing the
 instant motion, Wheeler filed a motion to dismiss pursuant to
 Rule 12(b)(1), which was denied by Judge Spatt on December 16,
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 169.)                    With             respect               to   Rule   12(b)(2),    Wheeler     alleges   that

 jurisdictional discovery has not remedied the Amended Complaint’s

 failure                  to         include                    sufficient   allegations    to   confer    personal

 jurisdiction over him.                                            (Def.’s Br., Docket Entry 169-6, at 22.)

 Wheeler asserts that such an exercise of jurisdiction would not

 comport with due process because Wheeler resides in the Yakama

 Nation in Washington State, has never been to New York, and does

 not transact business, possess an office, or own real property in

 New York.                       (Def.’s Br. at 24.)

               A.             The State’s Opposition

                              The State opposes Wheeler’s motion and alleges that

 personal jurisdiction over Wheeler is appropriate.                                                    (Pl.’s Br.,

 Docket Entry 171, at 6.)                                             The State’s opposition consists of a

 memorandum of law and an attorney declaration.                                                  (See Pl.’s Br.;

 Pl.’s Decl., Docket Entry 171-1.) The State’s attorney declaration

 cites to numerous documents, including but not limited to the

 transcripts of depositions taken in this matter; however, the State

 failed to annex any of these documents to its opposition.                                                      (See

 generally Pl.’s Decl.)

                              The           State               alleges   that    King   Mountain     is   Wheeler’s

 “agent” and that Wheeler is a primary actor who has benefited from

 King             Mountain’s                          activities          and    is   significantly    financially


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 2014. New York v. Mountain Tobacco, 66 F. Supp. 3d 293
 (E.D.N.Y. 2014) (“Mountain Tobacco II”).
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 interrelated with the activities of the corporation.              (Pl.’s Br.

 at 7, 9.)     The State also argues that the exercise of personal

 jurisdiction over Wheeler comports with due process requirements

 because Wheeler has the requisite minimum contacts with New York;

 the exercise of jurisdiction over Wheeler will cause minimal burden

 to him; court appearances in this action have been infrequent and

 Wheeler has retained local counsel; New York has a substantial

 interest in a New York court interpreting its state law claims;

 and New York is the most convenient forum because the State of New

 York commenced this action on behalf of all New Yorkers.               (Pl.’s

 Br. at 9-11.)

         B.   Wheeler’s Reply

              In his reply brief, Wheeler alleges that the State’s

 declaration is not factually supported because it “does not assert

 that [the attorney] has personal knowledge of the ‘facts’ attested

 to therein, is rife with attorney argument, attests to facts to

 which    attorney   Leung    could   not   possibly    have   any   personal

 knowledge, and summarizes documents and testimony which are not

 before the court.”       (Def.’s Reply Br., Docket Entry 179, at 7.)

 Additionally, Wheeler argues that the State inappropriately relies

 on pleadings filed in other actions “as if they are proven facts.”

 (Def.’s Reply Br. at 8.)        Notwithstanding the alleged defects of

 the State’s declaration, Wheeler avers that the State has not

 demonstrated that Wheeler was a “primary actor” in the New York

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 transactions giving rise to this litigation, namely, the presence

 of unstamped cigarettes for sale at the Poospatuck Reservation,

 the presence of unstamped cigarettes on a truck in Clinton County,

 and the failure to file documents with the New York State tobacco

 tax administrator.          (Def.’s Reply Br. at 9-10.)

                Wheeler further alleges that the State failed to amend

 or move for leave to amend the Amended Complaint following the

 close    of    jurisdictional        discovery      despite   the    Court’s    prior

 warning       that    the   State    may    not     save   deficient    substantive

 allegations by way of an attorney declaration.                  (Def.’s Reply Br.

 at 1-2.)

 IV.     The December 2015 Electronic Order

                The Court’s Electronic Order dated December 14, 2015

 directed the State to file copies of all documents cited in its

 declaration          on   ECF   on   or    before    December   28,     2015.      On

 December 28, 2015, the State filed an additional declaration that

 contains a list of numbered exhibits along with the exhibits

 themselves.          (See Docket Entries 190 and 191.)              The Court notes

 that the State’s original declaration does not reference any

 numbered exhibits and instead cites to document names.                          (See

 generally Pl.’s Decl.)

 V.    Oral Argument

                The Court conducted oral argument regarding Wheeler’s

 motion on January 8, 2016.

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                                   DISCUSSION

  I.   Personal Jurisdiction

              Prior to addressing Wheeler’s motion to dismiss pursuant

  to Rule 12(b)(6), the Court must first determine the preliminary

  issue of personal jurisdiction.           Hertzner v. U.S. Postal Serv.,

  No. 05-CV-2371, 2007 WL 869585, at *3 (E.D.N.Y. Mar. 20, 2007).

  See also Mende v. Milestone Tech., Inc., 269 F. Supp. 2d            246, 251

  (S.D.N.Y. 2003) (“Before addressing Defendants’ Rule 12(b)(6)

  motion to dismiss, the Court must first address the preliminary

  questions of service and personal jurisdiction.”)

        A.   Legal Standard

              The plaintiff bears the burden of demonstrating personal

  jurisdiction over the person or entity being sued.             Penguin Grp.

  (USA) Inc. v. Am. Buddha, 609 F.3d 30, 34 (2d Cir. 2010) (citation

  omitted).    The nature of the plaintiff’s obligation to establish

  personal jurisdiction varies based on the litigation’s procedural

  posture.    Ball v. Metallurgie Hoboken-Overpelt, S.A., 902 F.2d

  194, 197 (2d Cir. 1990).        Prior to discovery, the plaintiff may

  defeat a jurisdiction testing motion by “pleading in good faith,

  legally sufficient allegations of jurisdiction.”             Id. (internal

  citation omitted).      However, after discovery has been conducted

  “the plaintiff’s prima facie showing . . . must include an averment

  of facts that, if credited by the trier, would suffice to establish

  jurisdiction over the defendant.”           Id.   Accord Overseas Media,

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  Inc. v. Skvortsov, 277 F. App’x 92, 94 (2d Cir. 2008); McGlone v.

  Thermotex, Inc., 740 F. Supp. 2d 381, 383 (E.D.N.Y. 2010) (Holding

  that plaintiffs’ jurisdictional showing following the completion

  of discovery “must be supported by facts that, if credited, would

  establish personal jurisdiction.           Conclusory allegations based

  only on information and belief are not sufficient.”) (citations

  omitted).    Nevertheless, “a Rule 12(b)(2) motion . . . assumes the

  truth of the plaintiff’s factual allegations for purposes of the

  motion and challenges their sufficiency.”          Ball, 902 F.2d at 197.

              The resolution of personal jurisdiction issues require

  a two-part analysis.       First, the Court determines whether it has

  jurisdiction over the defendant pursuant to the forum state’s laws.

  Second, the Court determines whether such exercise of jurisdiction

  would be consistent with the requirements of federal due process.

  Grant River Enters. Six Nations, Ltd. v. Pryor, 425 F.3d 158, 165

  (2d Cir. 2005) (citations omitted).

              1.    New York State Long-Arm Statute

              New   York’s   long-arm   statute   applies    to   the    State’s

  claims.   See Mountain Tobacco I, 55 F. Supp. 3d at 311.              See also

  N.Y. CPLR § 302.      New York Civil Practice Laws and Rules Section

  302 provides, in relevant part, that personal jurisdiction may be

  exercised over a non-domiciliary who either in person or through

  an agent “transacts any business within the state or contracts

  anywhere to supply goods or services in the state.”               N.Y. CPLR

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  § 302(a)(1).        As the Amended Complaint does not contain any

  allegations that Wheeler personally transacted business in New

  York,   “the    State   relies    on    an    agency   theory    to   impute     King

  Mountain’s New York contacts to Wheeler.” N.Y. v. Mountain Tobacco

  Co., No. 12-CV-6276, 2015 WL 893625, at *2 (E.D.N.Y. Feb. 26, 2015)

  (Locke, M.J.) (“Mountain Tobacco III”).

              “[T]o     establish    that       a   corporation     acted    as     its

  principal’s agent, a plaintiff must show that the corporation

  ‘engaged in purposeful activities in this State . . . for the

  benefit of and with knowledge and consent of the [principals] and

  that    [the      principals]     exercised       some   control        over     [the

  corporation] in the matter.’”             Barron Partners, LP v. Lab 123,

  Inc., No. 07-CV-11135, 2008 WL 2902187, at *10 (S.D.N.Y. July 25,

  2008) (quoting Kreutter v. McFadden Oil Corp., 71 N.Y.2d 460, 467,

  522 N.E.2d 40, 43, 527 N.Y.S.2d 195 (1988)).                See also Mountain

  Tobacco I, 55 F. Supp. 3d at 312.                  The operative question is

  whether   the     out-of-state    corporate       officer   defendant       is   the

  primary actor in the underlying New York transaction giving rise

  to the litigation.        Barron Partners, 2008 WL 2902187, at *10

  (citation omitted).

              The    plaintiff     must    demonstrate      that    the     defendant

  exercised some level of control over the corporate actions that

  took place in New York; however, control will not be established

  “based merely upon a defendant’s title or position within the

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  corporation, or upon conclusory allegations that the defendant

  controls the corporation.”           Id. (internal quotation marks and

  citation omitted).       Accord Shostack v. Diller, No. 15-CV-2255,

  2015 WL 5535808, at *4 (S.D.N.Y. Sept. 16, 2015) (noting that it

  is well-settled that general allegations respecting an officer’s

  control    of    a     corporation     will     not    establish     personal

  jurisdiction).       See also Karabu Corp. v. Gitner, 16 F. Supp. 2d

  319, 324 (S.D.N.Y. 1998) (noting that Rule 12(b)(2) motions are

  routinely granted where plaintiff’s allegations regarding the

  defendant’s participation are “broadly worded and vague.”)

              Additionally,      the   exercise   of    jurisdiction    over   a

  corporate officer is appropriate where the officer “‘benefit[s]

  from the [agent-corporation’s] course of dealing in New York.’”

  Mountain Tobacco III, 2015 WL 893625, at *3 (quoting Rainbow

  Apparel Dist. Ctr. Corp. v. Gaze U.S.A., Inc., 295 F.R.D. 18, 27

  (E.D.N.Y. 2013) (alterations in original).            See also Karabu, 16 F.

  Supp. 2d at 324 n.6 (noting that cases finding that the defendant

  satisfied the “benefit prong” of the test for personal jurisdiction

  based on an agency theory “typically have involved claims against

  the controlling shareholders of closely held corporations.”)

              2.   Due Process

              To the extent that Wheeler falls within the reach of New

  York’s long-arm statute, the Court must determine if its exercise

  of jurisdiction comports with due process guarantees.           Asahi Metal

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  Indus. Co., Ltd. v. Super. Ct. of Cal., Solano Cnty., 480 U.S.

  102, 108-09, 107 S. Ct. 1026, 94 L. Ed. 2d 92 (1987).                            These

  guarantees are satisfied when a defendant has certain minimum

  contacts with the forum state such that maintenance of the suit

  would not “offend traditional notions of fair play and substantial

  justice.”     Int’l Shoe Co. v. Washington, 326 U.S. 310, 316, 66 S.

  Ct.   154,   90     L.   Ed.    95     (1945)    (internal      quotation   marks   and

  citations omitted).            The Court analyzes the nature and quality of

  the defendant’s forum contacts in applying a totality of the

  circumstances test.            Zelouf Int’l Corp. v. Na El, Inc., No. 13-

  CV-1788, 2014 WL 1318372, at *4 (S.D.N.Y. Mar. 28, 2014).                           See

  also Grand River Ent. Six Nations, Ltd. V. Pryor, 425 F.3d at 158,

  166   (2d    Cir.    2005)      (“No    single    event    or    contact    connecting

  defendant to the forum state need be demonstrated; rather, the

  totality of all defendant’s contacts with the forum state must

  indicate that the exercise of jurisdiction would be proper.”)

  (internal     quotation        marks     and    citation     omitted;   emphasis    in

  original).        However, the defendant will not be subjected to

  personal jurisdiction based on “‘random, fortuitous, or attenuated

  contacts . . . or of the unilateral activity of another party or

  a third person.’”         Zelouf, 2014 WL 1318372, at *4 (quoting Burger

  King Corp. v. Rudzewicz, 471 U.S. 462, 475, 105 S. Ct. 2174, 85 L.

  Ed. 2d 528 (1985)).



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               With respect to reasonableness, the Supreme Court has

  set forth the following factors as part of the Court’s analysis:

  (1) the burden on the defendant, (2) the interests of the forum

  state, (3) the plaintiff’s interest in obtaining relief, (4) “‘the

  interstate       judicial    system’s    interest    in   obtaining   the   most

  efficient resolution of controversies,’” and (5) “‘the shared

  interest     of    the      several    States   in   furthering    fundamental

  substantive social policies.’”           Asahi, 480 U.S. at 113-14 (quoting

  World-Wide Volkswagon, 444 U.S. 286, 292, 100 S. Ct. 559, 564, 62

  L. Ed. 2d 490 (1980).

        B. Analysis

               The State’s attempt to establish a basis for personal

  jurisdiction over Wheeler has been rife with issues that date back

  to Wheeler’s first motion to dismiss filed in May 2014.                       See

  generally Mountain Tobacco I, 55 F. Supp. 3d at 311-14.                       As

  previously noted, Judge Spatt held that the State failed to

  establish personal jurisdiction over Wheeler based on an agency

  theory     but    granted     the     State’s   request   for   jurisdictional

  discovery “so that the State may develop a record relevant to the

  extent of Wheeler’s contacts with New York State.”                Id. at 312-

  14.      Despite the fact that jurisdictional discovery has been

  completed and Wheeler filed the instant motion to dismiss, the

  State has not sought leave to amend its Amended Complaint.                  Thus,

  the Amended Complaint before this Court is the same Amended

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  Complaint that Judge Spatt reviewed in holding that the State

  failed to set forth a prima facie statutory basis for personal

  jurisdiction over Wheeler.         Id. at 313.

              Further, the State’s opposition to Wheeler’s motion

  consists of a memorandum of law and an attorney declaration that

  references various documents without labeling or annexing those

  documents as exhibits.       (See generally Pl.’s Decl.)          The State’s

  reliance on an attorney declaration as its sole evidentiary support

  is particularly troubling as Judge Spatt previously declined to

  consider    the    State’s   prior    attorney   declaration      “containing

  assorted statements that relate to personal jurisdiction over

  Wheeler” to the extent that it asserted facts that were not based

  on personal knowledge.       Mountain Tobacco I, 55 F. Supp. 3d at 313.

  Although the State ultimately filed the documents referenced in

  its declaration in response to the Court’s December 14, 2015

  Electronic Order, the Court is mindful of the absence of these

  documents from the State’s initial submission.                The Court finds

  that a bare attorney declaration does not suffice to satisfy the

  State’s burden of establishing “facts that, if credited by the

  trier,     would   suffice    to     establish   jurisdiction        over   the

  defendant.”    Ball, 902 F.2d at 197.

              Notwithstanding     its   failure    to   amend    the   defective

  Amended Complaint and its inappropriate reliance on an attorney

  declaration, the State has still failed to establish a viable basis

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  for personal jurisdiction over Wheeler.          The State’s CPLR Section

  302(a)(1) analysis relies on a string of conclusory statements--

  namely, that Wheeler benefited from King Mountain’s activities, is

  “financially interrelated” with the corporation, and is a “primary

  actor”--and refers to a large portion of the State’s declaration.

  (Pl.’s Br. at 9.)         However, the State’s declaration and the

  documents referenced by the State fail to demonstrate that Wheeler

  was the “primary actor” in the underlying transactions giving rise

  to this action: the presence of unstamped, unreported King Mountain

  cigarettes on the Poospatuck Reservation and the State Police’s

  discovery of unstamped, unreported King Mountain cigarettes in a

  truck on its way to land occupied by the Ganienkeh group. (See Am.

  Compl. ¶¶ 61-67.)

              The State’s sole references to the presence of King

  Mountain    cigarettes    on   the   Poospatuck     Reservation     are   the

  allegations that Wheeler told ERW Wholesale that King Mountain

  cigarettes were not to be sold on the Poospatuck Reservation and

  that Wheeler and King Mountain entered into a Stipulated Consent

  Order in another civil action in which they agreed to refrain from

  “selling    and    shipping    unstamped,     untaxed,     and    unreported

  cigarettes to persons, not otherwise licensed by the State of New

  York within the Poospatuck Indian reservation.”               (Pl.’s Decl.

  ¶¶ 58, 82.)       The State’s reference to the Ganienkeh group is

  limited to the allegation that King Mountain paid a fee to Mohawk

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  Marketing for the marketing and distribution of King Mountain

  cigarettes at certain stores that included two stores located on

  land occupied by the Ganienkeh group.                                              (Pl.’s Decl ¶ 57(a).)    The

  Court’s review of the portions of Wheeler’s deposition transcript

  submitted by the State reveals that Wheeler did not testify that

  he was involved in the sale of King Mountain cigarettes to the

  Poospatuck Reservation or the Ganienkeh group.                                             (See generally Tr.

  of Wheeler Deposition, Pl.’s Decl. at Ex. 22, Docket Entry 190-

  34.)               Needless to say, Wheeler’s deposition testimony certainly

  does not establish that he was the “primary actor” in these

  transactions.

                               While Wheeler testified that he negotiated a distributor

  agreement with ERW Wholesale, which is located in Irving, New York,

  and that he negotiated with the Onondaga Nation 5 to reach an

  agreement                       with             the           Onondaga   Nation   Smoke   Shop,   the   Amended

  Complaint does not contain any allegations pertaining to these

  agreements or the distribution of King Mountain cigarettes to ERW

  Wholesale or the Onondaga Nation.                                              (See Tr. of Wheeler Dep. at

  61:20-25, 78:12-166; KMTA00266, Pl.’s Decl. at Ex. 12-4, Docket

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    The Onondaga Nation is a recognized “Indian nation” with “a
  population primarily located on its reservation south of Nedrow,
  New York.” Onondaga Nation v. State of N.Y., No. 05-CV-0314,
  2010 WL 3806492, at *1 (N.D.N.Y. Sept. 22, 2010), aff’d,
  500 F. App’x 87 (2d Cir. 2012).
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  6 The Court notes that the portions of the transcript of

  Wheeler’s deposition annexed as an exhibit to the State’s
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  Entry 190-17; see generally Am. Compl.) Similarly, while the State

  alleges that in 2006, “Wheeler brokered the sale and shipment of

  King Mountain cigarettes to Oneida Wholesale, a company located

  within the State of New York,” the Amended Complaint is silent

  with regard to this transaction.                                                 (See Pl.’s Decl. at ¶ 55; see

  generally Am. Compl.)                                                The Court declines to take the Amended

  Complaint’s conclusory statement that “the defendants have, upon

  information                              and               belief,         knowingly     shipped,      transported,

  transferred, sold and distributed large quantities of unstamped

  and unreported cigarettes to on-reservation wholesalers in New

  York              State,”                   and                transform    it   into    a   blanket   “underlying

  transaction” for this litigation.                                                (Am. Compl. ¶ 56.)      The State

  has failed to make its required showing that Wheeler was personally

  involved                      in            the                two    underlying    transactions       specifically

  identified in the Amended Complaint.                                                    See Rainbow Apparel, 295

  F.R.D. at 26 (“The facts must indicate personal involvement on

  behalf of the corporate officer in the activities giving rise to

  the suit.”); Ontel Prods., Inc. v. Project Strategies Corp., 899

  F. Supp. 1144, 1148 (S.D.N.Y. 1995) (Holding that the plaintiff

  could not obtain personal jurisdiction over the defendant on the

  sole basis of his position as president of the corporate defendant;


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  opposition are not                                      in chronological order. For ease of
  reference, page 61                                      of Wheeler’s deposition can be found at ECF
  page number 50 and                                      page 78 of Wheeler’s deposition can be found
  at ECF page number                                      42.
                                                                              19
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  rather, the plaintiff “must show that [the defendant] personally

  took part in the activities giving rise to the action at issue.”)

  (citation omitted).

              In light of the State’s failure to establish that Wheeler

  is a “primary actor” in the underlying transactions of this

  litigation, the Court need not address the remaining elements of

  personal jurisdiction based on an agency theory or whether the

  exercise of jurisdiction over Wheeler would violate due process.

  Accordingly, Wheeler’s motion to dismiss for lack of personal

  jurisdiction is GRANTED and the State’s claims against Wheeler are

  DISMISSED WITH PREJUDICE.         The Court finds that granting the State

  leave to amend the Amended Complaint would be futile as the State

  has   already   had    the   benefit    of    jurisdictional     discovery   and

  multiple    opportunities        to   establish      a   basis   for   personal

  jurisdiction over Wheeler.            See Carpenter v. Republic of Chile,

  No. 07-CV-5290, 2011 WL 2490947, at *4 (E.D.N.Y. Jun. 22, 2011),

  aff’d, 487 F. App’x 669 (2d Cir. 2012) (“[T]he Court should deny

  leave when any amendment would be futile.”).

              Based     on   the   absence     of   personal   jurisdiction    over

  Wheeler, the Court need not reach the merits of Wheeler’s motion

  to the extent it requests dismissal under Rule 12(b)(6).

                                     CONCLUSION

              For the foregoing reasons, defendant Delbert Wheeler,

  Sr.’s motion to dismiss for lack of personal jurisdiction is

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  GRANTED and the State’s claims against Wheeler are DISMISSED WITH

  PREJUDICE.      The Clerk of the Court is directed to TERMINATE

  defendant Delbert Wheeler, Sr. as a defendant in this action.




                                                 SO ORDERED.


                                                 /s/ JOANNA SEYBERT______
                                                 Joanna Seybert, U.S.D.J.

  DATED:       January   26 , 2016
               Central Islip, New York




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